  Case 20-13881       Doc 64  Filed 11/09/22 Entered 11/10/22 09:26:19        Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                         )      BK No.:      20-13881
John M. Gorges, Jr.                            )
                                               )      Chapter: 7
                                               )
                                                      Honorable David D. Cleary
                                               )
                                               )
              Debtor(s)                        )

  ORDER VACATING NOTICE OF CONVERSION FROM CHAPTER 13 TO CHAPTER 7
                             (DOCKET 37)

       THIS CAUSE coming on to be heard on the Debtor's MOTION TO VACATE NOTICE OF
CONVERSION FROM CHAPTER 13 TO CHAPTER 7 (DOCKET 37) OR IN THE ALTERNATIVE
TO RECONVERT TO CHAPTER 13, due notice having been given and the Court being advised in the
premises;

IT IS ORDERED:

  That this case is converted to Chapter 13.




                                                   Enter:


                                                            Honorable David D. Cleary
Dated: November 09, 2022                                    United States Bankruptcy Judge
